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 7   Verduzco, on behalf of themselves and all
     others similarly situated
 8   [ADDITIONAL COUNSEL LISTED ON
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16
17                             UNITED STATES DISTRICT COURT

18                                       DISTRICT OF ARIZONA

19   Shawn Jensen, et al., on behalf of themselves    No. CV 12-00601-PHX-ROS
     and all others similarly situated; and Arizona
20   Center for Disability Law,
                                                       NOTICE OF SETTLEMENT
21                         Plaintiffs,                 OF ATTORNEYS’ FEES
22          v.
23   Ryan Thornell, et al., in their official
     capacities,
24
                           Defendants.
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      Case 2:12-cv-00601-ROS Document 4442 Filed 07/06/23 Page 2 of 4



 1          On April 11, 2023, the Court ordered that Plaintiffs' Motion for Attorneys' Fees was
 2   to be filed no later than July 6, 2023. Doc. 4413 at 2. Plaintiffs now give notice that their
 3   claim for attorneys' fees and costs incurred through and including April 7, 2023, has been
 4   resolved.
 5
 6    Dated: July 6, 2023                      ACLU NATIONAL PRISON PROJECT
 7                                             By: s/ David C. Fathi
                                                  David C. Fathi (Wash. 24893)**
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                                                   *Admitted pro hac vice
17                                                 **Admitted pro hac vice. Not admitted in
                                                   DC; practice limited to federal courts.
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     Case 2:12-cv-00601-ROS Document 4442 Filed 07/06/23 Page 3 of 4



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 7                                    Verduzco, on behalf of themselves and all
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19                                    Law
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      Case 2:12-cv-00601-ROS Document 4442 Filed 07/06/23 Page 4 of 4



 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on July 6, 2023, I electronically transmitted the above document
 3   to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
 4   Electronic Filing to the following CM/ECF registrants:
 5
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 6                             Assistant Arizona Attorneys General
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                                       Daniel P. Struck
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18
                                                                s/ Jessica Carns
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